Case 2'OO-cr-20068-BBD-dkv Document 60 Filed 07/25/05 Page 1 of 2 Page|D 75

IN THE UNITED STATES DISTRICT COURT FKHDHYAHQ DC

FOR THE WESTERN DISTRIC'I' OF TENNESSEE

     

 
   

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UNITED sTATEs oF AMERICA `"w;h¢ wo
Plaintiff, EFL
W"D iff `\` ;‘l§;l.`§`,:§r C}gU

vS. CR. NO. 2:00-20068-D

COREY D. JONES
Defendant.

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ORDER HOLDING PROBATIONER FOR REVOCATION HEARING

 

On July 25, 2005, Corey Jones appeared before on a charge of
violation. of the terms and. conditions of probation/supervised
release in this matter. The defendant was advised of his/her
rights under FRCrP 5 and 32.l(a)(l).

At this hearing, the defendant was released on bond. A
preliminary hearing on the violation was not held.

Accordingly, defendant Corey Jones is held to a final
revocation hearing, to be set on notice from the United States
District Court and in accordance with the jprovisions of Rule
32.l(a)(2), Federal Rules of Criminal Procedure.

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IT IS So oRDERED this 925 day of , 2005.

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UNITED S ATES MAGISTR.ATE JUDGE
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with Ru|e 55 and/or 32{|0) FHCrP on

   

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This notice confirms a copy of the document docketed as number 60 in
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Thomas L. Parker

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Honorable Bernice Donald
US DISTRICT COURT

